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A0-106 (Rev: 05/09)-Application for Search Wazrant { ; T T ; )

UNITED STATES DISTRICT COURT JUN 3.9 2029

 

ipeshie Mark C. MoCarit, Clerk
Northern District of Oklahoma U.S. DISTRICT COURT
In the Matter of the Search of ) - —
Information Associated with Apple ID ) Case No. EE dt Db SES
TONIESPARZA25@ICLOUD.COM that is Stored ata _)
Premises Controlled by Apple Inc. ) EILED UNDER SEAL
)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property Information Associated with Apple ID
TONIESPARZA25@ICLOUD.COM that is Stored at a Premises Controlled by Apple Inc.:

See Attachment “A”

located in the _Northern_ District of California , there is now concealed Information Associated with Apple ID
TONIESPARZA25@ICLOUD.COM that is Stored at a Premises Controlled by Apple Ine.:

 

See Attachment “B”

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of a crime;
M contraband, fruits of crime, or other items illegally possessed;

M property designed for use, intended for use, or used in committing a crime;
O1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

21 U.S.C. § 846 Conspiracy to Distribute Controlled Substances

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The application is based on these facts:
See Affidavit of SA Taylor Wilson, attached hereto.

M Continued on the attached sheet. k

O Delayed notice of _____ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the att eet

ZL.

Applicant's signature E

Taylor Wilson, Special Agent, DEA
Printed name and title

Sworn to before me by phone.
Date: ol 2.4 4 Cex:
/ — Judge’s Sgnature
City and state: Tulsa, Oklahoma Susan-E,Huntsman; U.S. Magistrate Judge

Printed name and title

Jeux Jayne

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In the Matter of the Search of Case No.

Information Associated with Apple ID
TONIESPARZA25@ICLOUD.COM FILED UNDER SEAL
that is Stored at a Premises Controlled

by Apple Inc.

 

Affidavit in Support of an Application for a Search Warrant

I, Special Agent Taylor Wilson, being first duly sworn under oath, depose and

state:
Introduction and Agent Background

1, I make this affidavit in support of an application for a search warrant for
information associated with a certain account that is stored at a premises owned,
maintained, controlled, or operated by Apple Inc. (“Apple”), an electronic
communications service and/or remote computing service provider headquartered at
One Apple Park Way, in Cupertino, California. The information to be searched is
described in the following paragraphs and in Attachment A. This affidavit is made in
support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
2703(b)(1)(A) and 2703(c)(1)(A) to require Apple to disclose to the government
information (including the content of communications) in its possession associated
with the Apple ID TONIESPARZA25@ICLOUD.COM, as further described in

Section I of Attachment B. Upon receipt of the information described in Section I of
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Attachment B, government-authorized persons will review the information to locate
the items described in Section II of Attachment B.

2. Iam a federal law enforcement officer as defined under Rule 41(a)(2)(C) and
am authorized to request this search warrant because Iam a government agent who
is engaged in enforcing federal criminal laws and I am within the category of officers
authorized by the Attorney General to request such a warrant.

3. lam a Special Agent with the Drug Enforcement Administration (DEA),
United States Department of Justice (DOJ). I have been a DEA Special Agent since
March 2016. I am currently assigned to the Tulsa Resident Office (TRO), in Tulsa,
Oklahoma, and I am an “investigative or law enforcement officer” of the United
States as defined in 21 U.S.C. § 878(a). I was previously employed with Customs and
Border Protection (CBP), Department of Homeland Security. I worked as a CBP
Officer for approximately two years.

4. During my law enforcement career, I have received countless hours in
specialized training from various federal law enforcement agencies. This training has
focused upon methods of unlawful manufacturing of illegal narcotics via clandestine
laboratories, the installation and monitoring of global positioning satellite (GPS)
trackers, Title III wire interceptions, smuggling and distribution techniques, methods
of drug trafficking, as well as the means by which drug traffickers derive, launder and
conceal their profits from drug trafficking, the use of assets to facilitate unlawful drug
trafficking activity and the law permitting the forfeiture to the United States of assets

purchased with drug proceeds or assets used or intended to be used to facilitate the

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drug violations. I have gained a considerable amount of knowledge about drug
trafficking organizations and their members through my training and experience.
During the course of my training and interviews with various defendants I have
learned how individuals involved in drug distribution schemes maintain records and
conspire to deceive law enforcement as well as rival distributors of controlled
dangerous substances. I have learned how individuals who are involved in the
distribution of controlled dangerous substances maintain records and secret monies
derived from the sale of illegal drugs.

5. Based on my experience as a law enforcement Officer, I also know that those
involved in international drug trafficking rely heavily on telephones to communicate
with one another in order to coordinate the smuggling, transportation, and
distribution of illegal drugs, and that they frequently employ coded language and
slang terminology in an effort to maintain secrecy while engaging in such
communications.

6. Through my employment as a law enforcement officer, I have gained
knowledge in the use of various investigative techniques, including the use of wire
and electronic interceptions and other types of electronic surveillance, physical
surveillance, undercover investigators, confidential informants, cooperating
witnesses, controlled purchases of illegal drugs, consensually-monitored recordings,
investigative interviews, trash searches, mail covers, financial investigations,

administrative and grand jury subpoenas, and search and arrest warrants,
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7. 1am familiar with the facts and circumstances of this investigation. The facts
set forth in this affidavit are based on my personal observations, knowledge obtained
from other law enforcement officers, my review of documents related to this
investigation, conversations with others who have personal knowledge of the events
and circumstances described herein. Because this affidavit is submitted for the
limited purpose of establishing probable cause in support of the application for a
search warrant, it does not set forth each and every fact that I or others have learned
during the course of this investigation.

8. Based on my training, research, experience, and the facts as set forth in this
affidavit, there is probable cause to believe the identified Apple ID contains evidence
of violations of 21 U.S.C. § 846, conspiracy to distribute controlled substances by
FNU LNU (a/k/a UM1954).

Jurisdiction

9. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A), & (c)(1)(A). Specifically, the Court is “a district court of the United States .
. . that has jurisdiction over the offense being investigated.” 18 U.S.C. §
2711(3)(A)().

10. When the government obtains records pursuant to § 2703, or pursuant toa
search warrant, the government is not required to notify the subscriber of the
existence of the warrant. 18 U.S.C. § 2703(a), (b)(1)(A), (c)(2), and (3). Additionally,

the government may obtain an order precluding Apple Inc. from notifying the

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subscriber or any other person of the warrant, for such period as the Court deems
appropriate, where there is reason to believe that such notification will seriously
jeopardize the investigation. 18 U.S.C. § 2705(b).
Probable Cause

11. In approximately January 2020, members of the Drug Enforcement
Administration (DEA) Tulsa Resident Office (TRO), the Tulsa Police Department
(TPD), and the DEA Oklahoma City District Office (OCDO) began investigating a
drug trafficking organization (DTO) distributing cocaine in Tulsa, Oklahoma, and
other parts of the United States. During this investigation, investigators identified
FNU LNU (a/k/a “Chuy”) to be a Mexico-based cocaine source of supply (SOS).

12, On August 13, 2021, the Honorable Timothy DeGiusti, Chief Judge for the
Western District of Oklahoma (WDOK), signed an order authorizing the
interception of wire and electronic communications on telephone number (405) 625-
9026, which is known to be used by Maria Julia Baeza-Medrano (Baeza-Medrano).

13. On August 18, 2021, DEA OCDO investigators intercepted a series of calls
between Aaron Baeza-Medrano (Aaron), using Baeza-Medrano’s telephone, and
telephone number (918) 361-1954, which is known to be used by FNU LNU (a/k/a
UM1954). During these calls, UM1954 and Aaron discussed Aaron delivering an
unknown quantity of cocaine from Oklahoma City to UM1954 in Tulsa. UM1954
advised Aaron that the cocaine was not his and the ultimate recipient of the cocaine
had arrived to Tulsa from out of town. Additionally, Aaron and UM1954 discussed

the quality of the cocaine. Aaron stated, “these are clean,” and UM1954 advised,
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“the guys are going to check that work, cousin.” Moreover, UM1954 and Aaron
agreed to meet at O’Reilly Auto Parts, located near 31st and Garnett in Tulsa.
Following the meeting, investigators observed UM1954 and Aaron travel into the
neighborhood to the north. However, investigators ultimately lost physical
surveillance of UM1954 and Aaron and surveillance was terminated.

14, In September 2021, members of the DEA TRO and the TPD began
investigating the drug trafficking activities of Christian Ramirez. Investigators have
identified Ramirez to use telephone number 918-693-0190 and to sell cocaine and
methamphetamine from his residence, located at 236 South 120" East Avenue,
Tulsa, Oklahoma.

15. During this investigation, investigators have determined that the service
provider for 918-361-1954 is Sprint/T-Mobile. Additionally, investigators have
identified telephone number 918-361-1954 to be subscribed to Guadalupe Mosqueda
at 3814 South 82™ East Avenue, Tulsa, Oklahoma. During this investigation,
investigators have identified UM1954 to reside at 2915 South 106" East Avenue,
Tulsa, Oklahoma. Additionally, investigators have identified telephone number 918-
361-1954 to have a WhatsApp account associated its telephone number 918-361-
1954.

16. On April 29, 2022, United States Magistrate Judge Jodi F. Jayne, Northern
District of Oklahoma, signed an order authorizing the installation and use of pen
registers and trap and trace devices for the WhatsApp account associated with

telephone number 918-361-1954. Investigators have used the data obtained from the
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pen register and trap and trace device for the WhatsApp account associated with —
telephone number 918-361-1954 to identify the device for telephone number 918-361-
1954 is an iPhone. For example, when UM1954 sends an outgoing message on
WhatsApp, the pen register and trap and trace device shows, “From: 19183611954
Device: iphone.”

17. Based on my training and experience, I know iPhones to use iCloud to store
data from the respective telephone. In this situation, I believe the iCloud account
associated with telephone number 918-361-1954 will provide information showing
UM1954’s involvement with the trafficking of cocaine in the Northern District of
Oklahoma. Additionally, I believe the iCloud account associated with telephone
number 918-361-1954 will assist investigators with identifying other known and
unknown co-conspirators within this DTO.

18. On June 2, 2022, United States Magistrate Judge Jodi F. Jayne, Northern
District of Oklahoma, signed a 2703(d) order authorizing investigators to receive the
iCloud account associated with telephone number 918-361-1954, Subsequently,
Intelligence Analyst (IA) Ruth Aston served the 2703(d) order to Apple via email.

19. On June 10, 2022, Apple responded to the 2703(d) and provided IA Aston
with a link to download the response to the 2703(d) order requesting the iCloud
account associated with telephone number 918-361-1954,

20. On June 21, 2022, Tulsa Police Department (TPD) Officer Booth extracted

the information from Apple. On this same date, your affiant and TFO Drew Sharp
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identified iCloud account toniesparza25@icloud.com to be associated with telephone
number 918-361-1954.

21. On June 28, 2022, DEA TRO investigators conducted toll analysis of
telephone numbers in contact with UM1954 at telephone number 918-361-1954.
Investigators identified telephone number 918-361-1954 to be in contact with
Ramirez, with the last contact on May 5, 2022. Additionally, DEA TRO
investigators conducted toll analysis of telephone numbers in contact with UM1954
via WhatsApp on 918-361-1954. Investigators identified telephone number 918-361-
1954 to be in contact with telephone number 918-927-2927, with the last contact on
June 25, 2022. Investigators know telephone number 918-927-2927 to be used by
Manuel Esparza-Escobedo. Additionally, investigators have identified Esparza-
Escobedo to be in communication with Manuel Salacies Jr. and Ariana Delgado.
During this investigation, investigators have identified Salacies and Delgado to be

Mexico-based members of the “Chuy” DTO.
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Background Concerning Apple!

22. Apple is a United States company that produces the iPhone, iPad, and iPod
Touch, all of which use the iOS operating system, and desktop and laptop computers
based on the Mac OS operating system.

23. Apple provides a variety of services that can be accessed from Apple devices
or, in some cases, other devices via web browsers or mobile and desktop applications
(“apps”). The services include email, instant messaging, and file storage:

a. Apple provides email service to its users through email addresses at the
domain names including, but not limited to mac.com, me.com, and icloud.com.

b. iMessage and FaceTime allow users of Apple devices to communicate in
real-time. iMessage enables users of Apple devices to exchange instant messages
(“iMessages”) containing text, photos, videos, locations, and contacts, while
FaceTime enables those users to conduct video calls.

c. iCloud is a cloud storage and cloud computing service from Apple that
allows its users to interact with Apple’s servers to utilize iCloud-connected services

to create, store, access, share, and synchronize data on Apple devices or via

 

' The information in this section is based on information published by Apple on its website,
including, but not limited to, the following document and webpages: “U.S. Law |
Enforcement Legal Process Guidelines,” available at

https://www.apple.com/legal/privacy/ law-enforcement-guidelines-us.pdf; “Create and

start using an Apple ID,” available at https://support.apple.com/en-us/HT203993:
“1Cloud,” available at http://www.apple.com/icloud/; “What does iCloud back up?,”

available at https://support.apple.com/kb/PH12519; “iOS Security,” available at
https://www.apple.com/business/does/iOS Securi uide.pdf, and “iCloud: How Can I

Use iCloud?,” available at https:// support.apple.com/kb/PH26502.

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icloud.com on any Internet-connected device. For example, iCloud Mail enables a
user to access Apple-provided email accounts on multiple Apple devices and on
iCloud.com. iCloud Photo Library and My Photo Stream can be used to store and
manage images and videos taken from Apple devices, and iCloud Photo Sharing
allows the user to share those images and videos with other Apple subscribers.
iCloud Drive can be used to store presentations, spreadsheets, and other documents.
iCloud Tabs and bookmarks enable iCloud to be used to synchronize bookmarks and
webpages opened in the Safari web browsers on all of the user’s Apple devices.
iCloud Backup allows users to create a backup of their sexiee data. iWork Apps, a
suite of productivity apps (Pages, Numbers, Keynote, and Notes), enables iCloud to
be used to create, store, and share documents, spreadsheets, and presentations.
iCloud Keychain enables a user to keep website username and passwords, credit card
information, and Wi-Fi network information synchronized across multiple Apple
devices.

d. Game Center, Apple’s social gaming network, allows users of Apple
devices to play and share games with each other.

e. Find My iPhone allows owners of Apple devices to remotely identify and
track the location of, display a message on, and wipe the contents of those devices.

f. Find My Friends allows owners of Apple devices to share locations.

g. Location Services allows apps and websites to use information from
cellular, Wi-Fi, Global Positioning System (“GPS”) networks, and Bluetooth, to

determine a user’s approximate location.

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h. App Store and iTunes Store are used to purchase and download digital
content. iOS apps can be purchased and downloaded through App Store on iOS
devices, or through iTunes Store on desktop and laptop computers running either
Microsoft Windows or Mac OS. Additional digital content, including music, movies,
and television shows, can be purchased through iTunes Store on iOS devices and on
desktop and laptop computers running either Microsoft Windows or Mac OS.

24. Apple services are accessed through the use of an “Apple ID,” an account
created during the setup of an Apple device or through the iTunes or iCloud services.
The account identifier for an Apple ID is an email address, provided by the user.
Users can submit an Apple-provided email address (often ending in @icloud.com,
@me.com, or @mac.com) or an email address associated with a third-party email
provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to access
most Apple services (including iCloud, iMessage, and FaceTime) only after the user
accesses and responds to a “verification email” sent by Apple to that “primary”
email address. Additional email addresses (“alternate,” “rescue,” and “notification”
email addresses) can also be associated with an Apple ID by the user. A single
Apple ID can be linked to multiple Apple services and devices, serving as a central

authentication and syncing mechanism.

25. Apple captures information associated with the creation and use of an Apple
ID. During the creation of an Apple ID, the user must provide basic personal
information including the user’s full name, physical address, and telephone numbers.

The user may also provide means of payment for products offered by Apple. The

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subscriber information and password associated with an Apple ID can be changed by
the user through the “My Apple ID” and “iForgot” pages on Apple’s website. In
addition, Apple captures the date on which the account was created, the length of
service, records of log-in times and durations, the types of service utilized, the status
of the account (including whether the account is inactive or closed), the methods
used to connect to and utilize the account, the Internet Protocol address (“IP
address”) used to register and access the account, and other log files that reflect usage
of the account.

26. Additional information is captured by Apple in connection with the use of an
Apple ID to access certain services. For example, Apple maintains connection logs
with IP addresses that reflect a user’s sign-on activity for Apple services such as
iTunes Store and App Store, iCloud, Game Center, and the My Apple ID and
iForgot pages on Apple’s website. Apple also maintains records reflecting a user’s
app purchases from App Store and iTunes Store, “call invitation logs” for FaceTime
calls, “query logs” for iMessage, and “mail logs” for activity over an Apple-provided
email account. Records relating to the use of the Find My iPhone service, including
connection logs and requests to remotely lock or erase a device, are also maintained
by Apple.

27. Apple also maintains information about the devices associated with an Apple
ID. When a user activates or upgrades an iOS device, Apple captures and retains the
user’s IP address and identifiers such as the Integrated Circuit Card ID number

(“ICCID”), which is the serial number of the device’s SIM card. Similarly, the

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telephone number of a user’s iPhone is linked to an Apple ID when the user signs
into FaceTime or iMessage. Apple also may maintain records of other device
identifiers, including the Media Access Control address (“MAC address”), the
unique device identifier (“UDID”), and the serial number. In addition, information
about a user’s computer is captured when iTunes is used on that computer to play
content associated with an Apple ID, and information about a user’s web browser
may be captured when used to access services through icloud.com and apple.com.
Apple also retains records related to communications between users and Apple
customer service, including communications regarding a particular Apple device or
service, and the repair history for a device.

28. Apple provides users with approximately five gigabytes of free electronic
space on iCloud, and users can purchase additional storage space. That storage
space, located on servers controlled by Apple, may contain data associated with the
use of iCloud-connected services, including: email (iCloud Mail); images and videos
(iCloud Photo Library, My Photo Stream, and iCloud Photo Sharing); documents,
spreadsheets, presentations, and other files ({Work and iCloud Drive); and web
browser settings and Wi-Fi network information (iCloud Tabs and iCloud
Keychain). iCloud can also be used to store iOS device backups, which can contain a
user’s photos and videos, iMessages, Short Message Service (“SMS”) and
Multimedia Messaging Service (“MMS”) messages, voicemail messages, call history,
contacts, calendar events, reminders, notes, app data and settings, Apple Watch

backups, and other data. Records and data associated with third-party apps may also

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be stored on iCloud; for example, the iOS app for WhatsApp, an instant messaging
service, can be configured to regularly back up a user’s instant messages on iCloud
Drive. Some of this data is stored on Apple’s servers in an encrypted form but can
nonetheless be decrypted by Apple.

29. In my training and experience, evidence of who was using an Apple ID and
from where, and evidence related to criminal activity of the kind described above,
may be found in the files and records described above. This evidence may establish
the “who, what, why, when, where, and how” of the criminal conduct under
investigation, thus enabling the United States to establish and prove each element or,
alternatively, to exclude the innocent from further suspicion.

30. For example, the stored communications and files connected to an Apple ID
may provide direct evidence of the offenses under investigation. Based on my _
training and experience, instant messages, emails, voicemails, photos, videos, and
documents are often created and used in furtherance of criminal activity, including to
communicate and facilitate the offenses under investigation.

31. Based on my training and experience, I know law enforcement can often
retrieve messages and data deleted on Apple iPhones from iCloud back-ups. Further,
stored communications and files connected to the targeted accounts may provide
direct evidence of the offenses under investigation. In addition to the actual content
of said communications, the user’s account activity, date-time logs, geo-location
data, and other information retained by Apple can indicate who has used or

controlled the account. This “user attribution” evidence js critica] because it allows

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investigators to understand the geographic and chronological context of access, use,
and events relating to the crime under investigation, and is analogous to the search
for “indicia of occupancy” while executing a search warrant at a residence. For
example, subscriber information, email and messaging logs, documents, and photos
and videos (and the data associated with the foregoing, such as geo-location, date
and time) may be evidence of who used or controlled the account at a relevant time.
As an example, because every device has unique hardware and software identifiers,
and because every device that connects to the Internet must use an IP address, IP
address and device identifier information can help to identify which computers or
other devices were used to access the account. Such information also allows
investigators to understand the geographic and chronological context of access, use,
and events relating to the crime under investigation. Alternatively, this same
information may help to exclude the innocent from further suspicion.

32. Account activity may also provide relevant insight into the account owner’s |
state of mind as it relates to the offenses under investigation. For example,
information on the account may indicate the owner’s motive and intent to commit a
crime (e.g., information indicating a plan to commit a crime), or consciousness of
guilt (e.g., deleting account information in an effort to conceal evidence from law
enforcement).

33. Other information connected to an Apple ID may lead to the discovery of
additional evidence. For example, the identification of apps downloaded from App

Store and iTunes Store may reveal services used in furtherance of the crimes under

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investigation or services used to communicate with co-conspirators. In addition,
emails, instant messages, Internet activity, documents, and contact and calendar
information can lead to the identification of co-conspirators and instrumentalities of
the crimes under investigation.

34. Therefore, Apple’s servers are likely to contain stored electronic
communications and information concerning subscribers and their use of Apple’s
services. In my training and experience, such information may constitute evidence of
the crimes under investigation including information that can be used to identify the
account’s user or users.

Information to be Searched and Things to be Seized

35. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is
not required for the service or execution of this warrant. The government will
execute this warrant by serving it on Apple. Because the warrant will be served on
Apple, who will then compile the requested records at a time convenient to it
reasonable cause exists to permit the execution of the requested warrant at any time
in the day or night.

36. I anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by
using the warrant to require Apple to disclose to the government digital copies of the
records and other information (including the content of communications)

particularly described in Section I of Attachment B. Upon receipt of the information

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described in Section I of Attachment B, government-authorized persons will review
that information to locate the items described in Section II of Attachment B.

37. In conducting this review, law enforcement personnel may use various
methods to locate evidence and instrumentalities of the crime(s) under investigation,
including but not limited to undertaking a cursory inspection of all information
within the account described in Attachment A. This method is analogous to cursorily
inspecting all the files in a file cabinet in an office to determine which paper evidence
is subject to seizure. Although law enforcement personnel may use other methods as
well, particularly including keyword searches, I know that keyword searches and
similar methods are typically inadequate to detect all information subject to seizure.
As an initial matter, keyword searches work only for text data, yet many types of
files commonly associated with e-mails, including attachments such as scanned
documents, pictures, and videos, do not store data as searchable text. Moreover,
even as to text data, keyword searches cannot be relied upon to capture all relevant
communications in an account as it is impossible to know in advance all of the
unique words or phrases investigative subjects will use in their communications, and
consequently there are often many communications in an account that are relevant
to an investigation but do not contain any searched keywords.

Conclusion
38. Based on the information above, I submit that there is probable cause to

believe that there is evidence of violations of title 21 U.S.C. § 846, conspiracy to

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distribute controlled substances associated with the Apple ID described in
Attachment A.

39. I request to be allowed to share this affidavit and the information obtained
from this search (to include copies of digital media) with any government agency, to
include state and local agencies investigating or aiding in the investigation of this
case or related matters, and to disclose those materials as necessary to comply with

discovery and disclosure obligations in any prosecutions from this matter,

Respectfully submitted,

Special Agent
Drug Enforcement Administration |

aa"
Subscribed and sworn by phone on June , 2022,

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ote J
UNITED STATES MAGISTRATE JUDGE

 

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ATTACHMENT A
Property to be Searched
This warrant applies to information associated with the Apple ID
toniesparza25@icloud.com that is stored at a premises owned, maintained,

controlled, or operated by Apple Inc., a company headquartered at One Apple Park

Way, Cupertino, California, 95014.
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ATTACHMENT B
Particular Things to be Seized

I. Information to be disclosed by Apple Inc. (“Apple’”’)

To the extent that the information described in Attachment A is within the
possession, custody, or control of Apple, regardless of whether such information is
located within or outside of the United States, including any messages, records, files,
logs, or information that has been deleted but is still available to Apple, or has been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Apple is required to
disclose the following information to the government, in unencrypted form whenever
available, for each account or identifier listed in Attachment A:

a. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers, email addresses
(including primary, alternate, rescue, and notification email addresses, and
verification information for each email address), the date on which the account was
created, the length of service, the IP address used to register the account, account
status, associated devices, methods of connecting, and means and source of payment
(including any credit or bank account numbers);

b. All records or other information regarding the devices associated with,
or used in connection with, the account (including all current and past trusted or
authorized iOS devices and computers, and any devices used to access Apple
services), including serial numbers, Unique Device Identifiers (“UDID”),

Advertising Identifiers (“IDFA”), Global Unique Identifiers (“GUID”), Media
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Access Control (“MAC”) addresses, Integrated Circuit Card ID numbers (“ICCID”),
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers (“MIN”),
Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital
Network Numbers (“MSISDN”), International Mobile Subscriber Identities
(“IMSI’), and International Mobile Station Equipment Identities (“IMEI”);

c. The contents of all emails associated with the account from August 1,
2021, through and including June 21, 2022, including stored or preserved copies of
emails sent to and from the account (including all draft emails and deleted emails),
the source and destination addresses associated with each email, the date and time at
which each email was sent, the size and length of each email, and the true and
accurate header information including the actual IP addresses of the sender and the
recipient of the emails, and all attachments;

d. The contents of all instant messages associated with the account from
August 1, 2021, through and including June 21, 2022, including stored or preserved
copies of instant messages (including iMessages, SMS messages, and MMS
messages) sent to and from the account (including all draft and deleted messages),
the source and destination account or phone number associated with each instant
message, the date and time at which each instant message was sent, the size and
length of each instant message, the actual IP addresses of the sender and the recipient

of each instant message, and the media, if any, attached to each instant message;
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e. The contents of all files and other records stored on iCloud account
from August 1, 2021, through and including June 21, 2022, including all iOS device
backups, all Apple and third-party app data, all files and other records related to
iCloud Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library,
iCloud Drive, iWork (including Pages, Numbers, Keynote, and Notes), iCloud Tabs
and bookmarks, and iCloud Keychain, and all address books, contact and buddy
lists, notes, reminders, calendar entries, images, videos, voicemails, device settings,
and bookmarks;

f. All activity, connection, and transactional logs for the account (with
associated IP addresses including source port numbers) account from August 1,
2021, through and including June 21, 2022, including FaceTime call invitation logs,
messaging and query logs (including iMessage, SMS, and MMS messages), mail
logs, iCloud logs, iTunes Store and App Store logs (including purchases, downloads,
and updates of Apple and third-party apps), My Apple ID and iForgot logs, sign-on
logs for all Apple services, Game Center logs, Find My iPhone and Find My Friends
logs, logs associated with web-based access of Apple services (including all
associated identifiers), and logs associated with iOS device purchase, activation, and
upgrades;

g. All records and information regarding locations account from August 1,
2021, through and including June 21, 2022 where the account or devices associated
with the account were accessed, including all data stored in connection with

Location Services, Find My iPhone, Find My Friends, and Apple Maps;
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h. All records pertaining to the types of service used;

i. All records pertaining to communications between Apple and any
person regarding the account, including contacts with support services and records of
actions taken between August 1, 2021, through and including June 21, 2022; and

i All files, keys, or other information necessary to decrypt any data
produced in an encrypted form, when available to Apple (including, but not limited
to, the keybag.txt and fileinfolist.txt files).

Apple is hereby ordered to disclose the above information to the government
within 14 days of issuance of this warrant.

Il. Information to be seized by the government

Li. All information described above in Section I that constitutes evidence of
violations of 21 U.S.C. § 846, conspiracy to distribute controlled substances
including, for each account or identifier listed on Attachment A:

a. The sale of illegal drugs;

b. Evidence indicating other accounts used by the owner of the Apple ID;

c. The identity of the person(s) who created or used the Apple ID,
including records that help reveal the whereabouts of such person(s);

d. Evidence indicating how and when the account was accessed or used, to
determine the chronological and geographic context of account access, use, and

events relating to the crime under investigation and the account subscriber;
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e. Any records pertaining to the means and source of payment for services
(including any credit card or bank account number or digital money transfer account
information);

i. Evidence indicating the subscriber’s state of mind as it relates to the
crime under investigation; and

g. | Evidence that may identify any co-conspirators or aiders and abettors,

including records that help reveal their whereabouts.
